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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NEW YORK



JULIE K. UTZ,                                    )
           PLAINTIFF,                            )
                                                 ) CIVIL ACTION
         VS.                                     )
                                                 )
THE LINCOLN NATIONAL LIFE                        ) CASE NO:
INSURANCE COMPANY, and                           )
NORTHWEST BANK                                   )
                                                 )
                DEFENDANTS

                                      COMPLAINT


         Comes now Plaintiff JULIE K. UTZ and sues Defendant THE LINCOLN

NATIONAL LIFE INSURANCE COMPANY, hereinafter also referred to as

Defendant Lincoln National, and Defendant Northwest Bank and states:

   CLAIMS FOR RELIEF AS TO DEFENDANT LINCOLN NATIONAL LIFE

          1. This is an action for relief pursuant to ERISA, 29 U.S.C. §1001 et seq.

          2. This court has jurisdiction pursuant to ERISA §502 (e), 29 U.S.C. §1132(e).

          3. Defendant The Lincoln National Life Insurance Company, hereinafter

Lincoln National, is an insurance company which at all times material hereto was

licensed to engage in and was in fact engaged in insurance business for profit in this

state.

          4. At all times material hereto Defendant Lincoln National insured Plaintiff for

disability pursuant to short term and long term policies of group insurance issued to

Plaintiff’s employer, Northwest Bank.




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       5. Plaintiff is and at all times material to this matter was a resident of Erie

County, New York. She was employed by Northwest Bank in Buffalo as an

investigator.

       6. On or about May 5, 2021 and while still employed by Northwest Bank

Plaintiff had spinal surgery, (a lumbar spinal fusion and laminectomy), which surgery it

was hoped would alleviate the severe pain plaintiff was experiencing. Thereafter

Defendant accepted plaintiff as disabled and paid short term disability benefits for the

time frame from May 2021 until September 2021, at which time plaintiff returned to her

employment as an investigator for Northwest Bank.

       7. Plaintiff returned to her job in September 2021, working for the Bank until

December 30, 2021.

       8. Beginning on or about December 30, 2021 plaintiff was again unable to

function because of pain located in her mid and lower back and extending down her legs

and into both feet as well as bilateral knee pain and a Major Depressive Disorder.

Defendant initially recognized Plaintiff’s disability and paid short term disability

benefits from January 7, 2022 until February 5, 2022.

       9. Despite the fact that Plaintiff remained disabled from her occupation since

February 5, 2022, Defendant in a denial letter dated March 16, 2022 denied disability

benefits effective February 5, 2022 and gave plaintiff incorrect advice concerning the

time for taking an appeal.




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       10. Plaintiff, acting without benefit of counsel and correct information

concerning how and when to take an appeal, appealed Defendant’s wrongful denial of

benefits pro se.

       11. Through medical records submitted to and received by Defendant prior to the

issuance of the final denial of benefits on appeal, Defendant Lincoln was advised that

Plaintiff was scheduled for a lumbar surgery due to the presence of a spinal cyst

compressing and displacing her intradural nerves. Defendant ignored this information

and pushed ahead with an improper affirmation of its denial of benefits, again denying

short term disability effective February 5, 2022.

       12. Defendant’s denial of benefits was wrongful in that Defendant failed to

consider medical opinion indicating that Plaintiff had an intradural cyst which

compromised the spinal nerves and that Plaintiff was scheduled for lumbar surgery

(which surgery, a laminectomy with fenestration of an intradural cyst, was ultimately

performed on December 3, 2022).

       13. Defendant’s denial of benefits was wrongful in that defendant failed to

properly consider the effect of plaintiff’s pain on our ability to perform full time

employment.

       14. Defendant’s denial of benefits was wrongful in that Defendant improperly

advised plaintiff on the time available for taking an appeal.

       15. Defendant failed to provide Plaintiff with a fair hearing on her claim and

failed to follow Department of Labor Regulations in their denial of benefits and in their

processing of the appeal which plaintiff took from that denial.




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          16. Defendant’s denial of benefits was improper in that Defendant denied the

 claim by letter dated March 16, 2022 without furnishing claimant with a description of

 any additional material or information necessary for her to perfect the claim and an

 explanation of why such material or information was necessary.

          17. Defendant is a conflicted claims administrator. Defendant Lincoln National

 decides whether benefits should be paid pursuant to a policy which it drafted and issued.

 And Defendant is the party responsible for paying benefits to the disability policy.




          WHEREFORE, Plaintiff prays that this honorable court:

          1. Reverse the denial of benefits arrived at by Defendant and award plaintiff short

term and long term disability benefits for the time frame from February 5, 2022 to the

present together with interest thereon and direct that Defendant pay continuing benefits

for so long as plaintiff remains disabled in accordance with the policies issued by

Defendant.

          3. In the alternative, remand the claim to Defendant for a fair hearing on

Plaintiff’s claim.

          4. Award plaintiff’s attorney’s fees and costs pursuant to ERISA §502(g), 29

U.S.C. §1132(g)

          5. . Afford plaintiff such other and additional relief as the Court finds fitting and

proper.




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           CLAIMS FOR RELIEF AS TO DEFENDANT NORTHWEST BANK

        18. At all times material hereto Defendant Northwest Bank was the plan

administrator of the disability plans referred to in the claims alleged herein against

Defendant Lincoln.

        19. At all times material hereto Plaintiff Utz was a participant in the short term

and long term disability plans sponsored by and administered by her employer

Northwest Bank.

        20. On March 6, 2023 Plaintiff, through her undersigned counsel, made a written

request to Northwest Bank seeking plan documents which the administrator Northwest

was required to provide within 30 days of written request pursuant to Erisa §104(b)(4);

codified at 19 U.S.C. §1024(b)(4).

        21. Defendant Northwest Bank failed to produce the plan documents within 30

days of Plaintiff’s written request as required by Erisa §104(b)(4).

       Wherefore, plaintiff prays that this honorable court award her penalties of up to

$110 per day against Defendant Northwest Bank pursuant to Erisa §502(c)(1), together

with attorneys fees and costs of action pursuant to Erisa §502(g), 29 U.S.C. §1132(g).

Dated this 31st day of October 2023
at East Aurora, New York

                                                      _____________________________
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